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No. 04-08-00463-CR



Antonio A. MATA,


Appellant



v.



The STATE of Texas,


Appellee



From the 38th Judicial District Court, Uvalde County, Texas


Trial Court No. 07-03-10,898-CR-A


Honorable Mark Luitjen, Judge Presiding



PER CURIAM


Sitting: 	Karen Angelini, Justice

		Sandee Bryan Marion, Justice

		Phylis J. Speedlin, Justice


Delivered and Filed:	August 29, 2008


DISMISSED

	Pursuant to a plea-bargain agreement, Antonio A. Mata pled nolo contendere to murder and
was sentenced to twenty years of imprisonment in accordance with the terms of his plea-bargain
agreement. The trial court signed a certification of defendant's right to appeal stating that this "is a
plea-bargain case, and the defendant has NO right of appeal." See Tex. R. App. P. 25.2(a)(2). After
Mata filed a notice of appeal, the trial court clerk sent copies of the certification and notice of appeal
to this court. See id. 25.2(e). The clerk's record, which includes the trial court's rule 25.2(a)(2)
certification, has been filed. See id. 25.2(d). 

	"In a plea bargain case ... a defendant may appeal only: (A) those matters that were raised by
written motion filed and ruled on before trial, or (B) after getting the trial court's permission to
appeal." Tex. R. App. P. 25.2(a)(2). The clerk's record, which contains a written plea bargain,
establishes the punishment assessed by the court does not exceed the punishment recommended by
the prosecutor and agreed to by the defendant. See id. 25.2(a)(2). The clerk's record does not include
a written motion filed and ruled upon before trial; nor does it indicate that the trial court gave its
permission to appeal. The trial court's certification, therefore, appears to accurately reflect that this
is a plea-bargain case and that Mata does not have a right to appeal. We must dismiss an appeal "if
a certification that shows the defendant has the right of appeal has not been made part of the record." 
Id. 25.2(d). 

	We, therefore, warned Mata that this appeal would be dismissed pursuant to Texas Rule of
Appellate Procedure 25.2(d), unless an amended trial court certification showing that he had the right
to appeal was made part of the appellate record. See Tex. R. App. P. 25.2(d), 37.1; Daniels v. State,
110 S.W.3d 174 (Tex. App.--San Antonio 2003, order). No such amended trial court certification
has been filed. This appeal is, therefore, dismissed pursuant to rule 25.2(d).   


							PER CURIAM

DO NOT PUBLISH


